                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )
                     v.                          )          No. 13-4039-02-CR-C-BCW
                                                 )
FRANK COLLINS,                                   )
                                                 )
                             Defendant.          )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The defendant, by consent, appeared before the undersigned on October 30, 2014 and
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j), and 28
U.S.C. § 636, and has entered a plea of guilty to Count Four of the Superseding Indictment filed
on December 11, 2014. After cautioning and examining Defendant, under oath, in accordance
with the requirements of Rule 11, it was determined that the guilty plea was knowledgeable and
voluntary, and that the offense to which Defendant has plead guilty is supported by a factual
basis for each of the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that the
defendant be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                               Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge

October 30, 2014
Jefferson City, Missouri




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